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                              IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF OREGON

                                              PORTLAND DIVISION

      UNITED STATES OF AMERICA,                                                               CASE NO. 3:18-cr-00319-JO-2
                                                      Plaintiff,                                 DECLARATION OF
                                                                                                 ERNEST WARREN, JR. IN
                                                                                                 SUPPORT OF UNOPPOSED
                                                                                                 MOTION FOR THE
                                                                                                 CONTINUANCE OF THE
                                                                                                 SENTENCING DATE

                              v.

      EARL DEVERLE FISHER,
                                                  Defendant.
      I, Ernest Warren Jr., under penalty of perjury, do hereby depose and say:

             1.      I am the attorney of record for the defendant;

             2.      I was appointed to represent defendant by the Honorable John V. Acosta on July

      10, 2018;
             3.      I request the Court grant my Motion for a Continuance of the Sentencing
      Date to July 8, 2020.



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      CONTINUANCE OF SENTENCING DATE
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       4.     We are working up mitigation and review of additional documents.
       5.     AUSA Leah Bolstad does not object to this request.


DATED this 21st of October, 2019.

                                                                /s/ Ernest Warren, Jr.
                                                                Ernest Warren, Jr., OSB No. 89138




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